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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
N.V.E., INC., Civil Action No.
2:06-cv-05455 (MCA)(JAD)
Plaintiff,
Vv. FINAL PRETRIAL ORDER

JESUS J. PALMERONI, a/k/a JOSEPH
PALMERONI and VINCENT ROSARBO.

Defendants.

 

 

This matter having come before the Court for a final pretrial conference pursuant to Fed.
R. Civ. P, 16; and Pashman Stein Walder Hayden, P.C. having appeared for plaintiff, N.V.E.,
Inc. (“NVE”), and Jesus J. Palmeroni (“Palmeroni’”) and Vincent Rosarbo (“Rosarbo”) appearing
pro se; the following Final Pretrial Order is hereby entered:
1. PLAINTIFF’S CLAIMS
A. At trial, NVE will pursue the following claims in the Amended Complaint.
° Fraud (Count Six)

° Fraud-Deceit (Count Seven)

° Unlawful Interference with Economic Advantage (Count Eight)
* Civil Conspiracy (Count Nine)
® Breach of the Duty of Loyalty (Count Eleven)
B. Rosarbo’s Response to Plaintiff's Claims
PLAINTIFF'S CLAIMS - Disputed by pro se litigant
A) Fraud (count six) was authorized by Bob Occhinfinto (by word of mouth) to sell

products by any means necessary, was no signed contract or performance clause in place and was
not a fiduciary or attached to any bank or checking acct regarding NVE’s money matters.
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B) Fraud - Deceit ( count 7) was authorized by Bob Occhinfinto (by word of mouth) to
sell products by any means necessary, was no signed contract or performance clause in place
and was not a fiduciary or attached to any bank or checking acct regarding NVE’s money
matters.

C) Unlawful Interference with Economic Advantage (count 8) was authorized by Bob
Occhinfinto (by word of mouth) to sell products by any means necessary, was no signed
contract or performance clause in place, was not a fiduciary or attached to any bank or checking
acct regarding NVE’s money matters, NVE’s economic statue at this time was enhanced because
instead of all the products which contained ephedra being trashed they were sold at discounted
prices which NVE also made a substantial profit on and being that the product was paid up front
in tull there was no risk of any coming back once the FDA banned the sale of ephedra products.

D) Civil Conspiracy ( count 9) was authorized by Bob Occhinfinto (by word of mouth)
to sell products by any means necessary. was no signed contract or performance clause in place
and was not a fiduciary or attached to any bank or checking acct regarding NVE’s money
matters. Therefore no conspiracy exist.

E) Interference with Property Rights (count 10) was authorized by Bob Occhinfinto (by
word of mouth) to sell products by any means necessary, was no signed contract or performance
clause in place and was not a fiduciary or attached to any bank or checking acct regarding NVE’s
money matters. Therefore interference with property rights did not exist.

F) Breach of the Duty of Loyalty (count | 1) was authorized by Bob Occhinfinto (by word
of mouth) to sell products by any means necessary. was no signed contract or performance clause
in place and was not a fiduciary or attached to any bank or checking acct regarding NVE’s
money matters. Therefore the question of loyalty was not breached.

G) Breach of Contract (count 12) was authorized by Bob Occhintfinto (by word of mouth)
lo sell products by any means necessary, was no signed contract or performance clause in place
and was not a fiduciary or attached to any bank or checking acct regarding NVE’s money
matters.

H) Accounting (count 13) was authorized by Bob Occhinfinto (by word of mouth) to sell
products by any means necessary, was no signed contract or performance clause in place and was
not a fiduciary or attached to any bank or checking acct regarding NVE’s money matters, plus
there are missing records from NVE during that time period which show no accounting of said
matters.

1) Constructive ‘Trust (count 1-4) was authorized by Bob Occhinfinto (by word of mouth)
to sell products by any means necessary, was no signed contract or performance clause in place
and was not a fiduciary or attached to any bank or checking acct regarding NVE’s money
matters.
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2. PRETRIAL MOTIONS

A. Plaintiff's Motions

i. Motion in Limine Seeking to Bar Introduction of Bob
Occhifinto’s Criminal History

This motion seeks to preclude any party to this action from referencing Mr. Occhifinto’s
criminal convictions that are more than ten years old and do not involve dishonesty or false
statements. Those convictions have no probative value and are inadmissible for impeachment
purposes pursuant to Fed. R. Evid. 402, 403, and 609,

ii. Motion in Limine Seeking to bar the introduction of Art
Prindle’s Criminal History

Mr. Prindle was hired by Mr. Occhifinto in 2000 after meeting Mr. Occhifinto in prison,
Mr. Prindle may be a witness in this case and for the same reason that it is unfair to introduce
Mr. Occhifinto’s criminal history it is unfair to introduce Mr. Prindle’s.

iii. Motion in Limine Seeking to Bar Introduction of Facts Related
to Third-Party Claims

Plaintiff seeks to preclude Palmeroni from referencing the baseless allegations that he
was fired for complaining about allegedly illegal activities he witnessed as an employee of NVE
because they would have no probative value. Pursuant to Fed. R. Evid. 404(b), introduction of
information related to those allegations would be unduly prejudicial. We will specifically request
that the following topics be deemed off limits by the Court:

I. Any suggestion that NVE or Mr. Occhifinto engaged in bankruptcy fraud, including,
but not limited to, the claim that Mr. Occhifinto received payments in cash in order to deceive
the creditors committee;

2. Any suggestion that any employee of NVE committed sexual harassment or engaged in
inappropriate behavior of a sexual nature:

3. Mention of the relationship between NVE and an individual by the name of Jarrod
Wheat for whom NVE manufactured an herbal supplement that drew attention of the FDA;

4. The suggestion that Mr. Occhifinto bragged of murdering someone;

5. The allegation that NVE defrauded customers by misrepresenting the nature and/or
extent of its insurance coverage;

6. The allegation that NVE changed the expiration date on energy drinks;

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7. The allegation that Mr. Occhifinto used a contractor paid by the company to perform
work on his home; and

8. The alleged illegal drug use of certain NVE employees.

iv. Motion in Limine Seeking to Bar Other Irrelevant, Prejudicial
Facts

It is anticipated that defendants will attempt to introduce other irrelevant, prejudicial facts
that should be barred by the Court including:

1. Any reference to Mr. Occhifinto having a child with Patti Cosentino;
2, Any reference to Mr. Occhifinto’s wealth;
3. The allegation that the company hired illegal immigrants;

4. Any reference to the fact that Palmeroni testified against NVE in a trial held in
Michigan in 2016;

5. Any suggestion that ephedra products were marketed with names that sounded like
street drugs or to individuals who might use the products improperly; and

6. Any suggestion that members of Rosarbo’s family are disabled and/or that he has
taken care of them.

7. Rosarbo’s allegation that his prior deposition testimony was elicited through
coercion or duress.

v. Motion to Vacate Prior Sanctions Order

A different judge of this Court ruled that a charge should be given to the jury allowing it
to derive a negative inference from the fact that certain documents were not preserved by
Plaintiff, For various reasons, including that it was wrongly decided, that the law has evolved
since the order was entered, and that there is no evidence that Plaintiff had the slightest motive to
hide anything, the order should be vacated in its entirety.

B. Palmeroni’s Anticipated in Limine Motions
l. Defendant Palmeroni anticipates motions to bar testimony of all plaintiff's expert

witnesses for lack of expertise and for lack of evidential foundation, Daubert v. Merrill Dow
Pharmaceuticals, Inc. 509 U.S. 579 (1993). Palmeroni also will move for in limine instructions
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permitting impeachment of Occhifinto and others on the basis of prior convictions and barring
the use of Palmeroni’s convictions to impeach him.

2. Motion in limine to allow testimony pertaining to the genesis of Mr. Occhifinto’s
vendetta to destroy Mr. Palmeroni as a whistleblower, and potential competitor.

3. Motion in limine to allow testimony as to Mr. Occhifinto’s illegal offer to settle
with Mr. Palmeroni, if Mr. Palmeroni changed his testimony (thereby having Mr. Palmeroni
commit perjury) in then pending case in the federal district in Michigan.

4, Motion in limine to bar anticipated irrelevant testimony impinging the character
of Mr. Palmeroni through his personal life and his family as well as any unproven or irrelevant
conduct at NVE that plaintiff seeks to smear Mr. Palmeroni with.

5. Motion in limine to bar testimony as far as NVE's marketing prowess as
unreliable and unsupported by documentation requested.

6. Motion in limine to force NVE to produce financial records that they have refused
in the past.

7. Motion in limine to show other examples of NVE hiding evidence in other federal
courts which goes to a pattern of deceit.

Cc. Rosarbo’s Motions

 

1. Defendant Rosarbo anticipates motions to bring forward the following issues that have
great relevance to the case.

2. Sexual harassment and inappropriate behavior was rampant thru-out the work force
during the day to day office operations. Is relevant to the case because it will show the
criminal pattern and low moral respect shown to his subordinates. Also the extreme
pressure a work environment such as this is related to the character of the owner who
allowed such behavior to flourish.

3. Jared Wheat relationship is extremely vital due to Bob Occhinfinto continued pattern of
criminal nature and egotistical character. Also was warned numerous times to not get
involved to no avail,

4. Patty Cosentino having a child with Bob Occhinfinto is also relevant to his character
because it shows sexual harassment in the work force. Also caused pressure in the work
force because once known he didn’t want the pregnancy to go forward so everybody was
told to shun her. It was very embarrassing to everyone and showed low moral character
and feeling toward a follow worker.
 

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Bob Occhifinto wealth is relevant because it shows his vindictive character, Case is not
about money it’s about vindictiveness, ego. and show of power.

Names of products ( Yellow Jackets and Black Beauty) are relevant because definitely
names of street drug during the 1960’s that also proves his criminal nature and character.

Rosarbo taking care of his autistic brother is relevant due to the positive character of the
defendant.

Changing the dates on expired products is relevant due to the witnessing of, and also
shows Bob Occhinfinto criminal pattern and devious character.

Allegations of coercion, harassment, duress. and threats prior to Rosarbo’s deposition
testimony is extremely relevant because it most definitely shows Bob Occhinfinto’s
pattern of sadistic, criminal nature and low character.

Carlos Bengoa lacks sufficient knowledge, skill, experience, training. or education to
qualify as an expert. He profited the most by cornering the midwest market during the
legal selling of ephedra products. Started out small and with Bob Occhinfinto’s assistance
is NVE’s biggest convenient store customer to date.

Dirk Nieuwenhuis - Lacks sufficient knowledge. skill. experience. training, or education
to qualify as an expert. Example- His statement about cannibalizing the product is
absurd. how do you cannibalize a product that has a limited selling option. Everybody
knew the ephedra window was closing fast..

PLAINTIFF’S MOTION TO VACATE PRIOR SANCTIONS ORDER

Should not be granted due to certain documents that were vital to this case and are

missing should be brought out. A judge already ruled in the favor of it being mentioned and if
the law has evolved since should have no bearing.

D. Deadline for Filing Pre-Trial Motions

All pretrial motions shall be filed with the Court and served on all parties by

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3, PLAINTIFF’S WITNESSES (Aside from those called for impeachment purposes, only
those witnesses whose names and addresses are listed below will be permitted to testify at trial).

A, On liability, plaintiff intends to call the following witnesses who will
testify in accordance with the following summaries:

l. Robert Occhifinto —- Mr. Occhifinto will describe the history of
NVE, the introduction of the ephedra products, the success of
ephedra products, the FDA’s ban on ephedra products and its
impact on the company, the hiring of Palmeroni and his
responsibilities, the hiring of Vincent Rosarbo and his
responsibilities, the NVE bankruptcy, the discovery of Mr.
Palmeroni’s duplicity and distributors, the termination of Rosarbo
and Palmeroni.

2. Vincent Rosarbo — Rosarbo will describe his job responsibilities as
an employee of NVE, his relationship with Mr. Palmeroni, the
formation of Smart World US and the reasons therefor, the
formation of VAR and the reasons therefore, the formation of
AWD and the reasons therefor, the manner in which the
distribution scam operated, the fact that Mr. Occhifinto did not
know about the scam, the identity of the distributors that bought
product from AWD, the authenticity of various records that bear
on the scam and NVE’s damages.

3. Jesus Palmeroni — Palmeroni will testify to his request for, and
receipt of, payments from NVE product brokers.

4, Ronald Sumicek — Mr. Sumicek will describe the nature of his
business, his relationship with Palmeroni and his payment of part
of his commissions to Mr, Palmeroni.

2 Carlos Bengoa — Mr. Bengoa will testify that on behalf of CB
Distributors, he purchased over $6,000,000 worth of product
diverted by Palmeroni and Rosarbo, that Mr. Occhifinto knew
nothing of these purchases, that CB Distributors was an NVE
account before it allegedly became a brokerage customer of
Sunbelt Marketing, that between 2000 and 2004, ephedra sales
were booming and that there was very little selling effort required
on the part of Palmeroni or anyone else.

6. Richard Horowitz — Mr. Horowitz will testify that the industry

standard is that a 5% commission is paid by manufacturers to
product brokers, that the market for ephedra products like NVE’s

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tripled between 2000 and 2004 and that he paid kickbacks to
Palmeroni under threat that he would lose the opportunity to be a
broker of NVE products if he did not make the payments.

Glen Lee — Mr. Lee will testify to standard sales practices at NVE,
his experiences with Ronald Sumicek and Palmeroni that led him
to believe that something suspicious might be going on, and how
Palmeroni’s accounts were handled after his dismissal.

Art Prindle — Mr. Prindle will testify to the environment in the
sales department when Palmeroni was in charge and his handling
of accounts since Palmeroni left.

Dirk Nieuwenhuis — Mr. Nieuwenhuis will describe the market for
ephedra products between 2000 and 2004, will offer the opinion
that Palmeroni and Rosarbo were cannibalizing NVE’s sales rather
than increasing the market for NVE products and that he was
forced to pay kickbacks by Palmeroni if he wished to do business
with NVE.

Erling Jensen — Mr. Jensen will testify to Mr. Occhifinto’s
management style, the standard brokerage commission in the
industry and the loss and destruction of documents that led to the
imposition of sanctions in 2011 and the discovery of Palmeroni
and Rosarbo’s duplicity as regards the distribution scam.

Phillip Yang — Mr. Yang will explain the reasons that records
could not be retrieved from the MACS system.

B. On damages, plaintiff intends to call the following witnesses who will
testify in accordance with the following summaries:

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Darryl S. Neier, M.S. CFE (also an expert)

DEFENDANT PALMERONI'S OBJECTIONS TO PLAINTIFF’S WITNESSES

|.Carlos Bengoa - defendant palmeroni objects to NVE calling Carlos Bengoa as a
witness. Mr. Bengoa’s testimony is hearsay and not relevant to any of the claims or defenses in
this matter. And even if it was relevant his testimony would be cumulative and unnecessary
because Mr. Occifinto, NVE's president and 100% owner can testify to the same alleged facts.
Furthermore Mr. Bengoas documents were subpoenaed by former counsel for Mr. Palmeroni and
Mr. Bengoa stated that al! the documents requested were disposed “in the normal course of
business.” This happens to be the exact same time period that plaintiff nve claimed to have
destroyed numerous documents “in the normal course of business” and NVE was sanctioned for

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it. Furthermore, NVE's attorneys have refused to produce the settlement document between NVE
and Mr. Bengoa in this case, which leaves defendant Palmeroni unable to show the jury
accurately Mr. Bengoa’s compensation for his testimony. Furthermore by information and belief
defendant Palmeroni has learned that Mr. Bengoa is doing extensive business with NVE and
therefore defendant palmeroni should be able to show the jury the amount of business and how
lucrative it is to the jury. If Mr. Bengoa chooses to not testify truthfully or “forgets” Mr.

palmeroni will not have time during trial to find out the true facts. Therefore Mr. Bengoa should
not be able to testify.

2, Richard Horwitz —- NVE's description of Mr. Horwitz proposed testimony indicates
that Mr. Horwitzs testimony will consist of hearsay. Mr. Horwitz his testimony is not relevant.
And even if it was relevant his testimony would be cumulative and unnecessary because Mr.
Occifinto NVE's president 100% owner can testify to the same alleged facts. Furthermore , Mr.
Horwitz and his brother Jerald were subpoenaed for depositions twice in this case by two
different former attorneys working for defendant. The Horwitz brothers decided not to answer
the subpoenas either for documents nor for a deposition. However, it is our understanding and
belief that Mr. Horwitz has been to NVE's headquarters numerous times, and spoke to employees
and owners about this case numerous times as well as NVE's attorneys. Defendant Palmeroni
was not afforded the opportunity to depose Mr. Horwitz and should not be “blindsided” during
trial. Furthermore NVE has failed to produce a settlement document between Mr. Horwitz his
companies and NVE in this case. Therefore defendant palmeroni cannot properly ascertain Mr.
Horwitz his or his companies true consideration for his testimony. Furthermore Mr. Horwitz and
or his companies continue to do business and are well compensated by Mr. Occifinto. Because
we cannot expect to be able to check untrue statements given at time of trial by Mr. Horwitz
should not be allowed to testify.

3. Glen Lee - Mr. Lees testimony is hearsay and the relevant. Even if it was relevant, his
testimony would be cumulative and unnecessary, because Mr. Occifinto NVE’s president could
testified to the same alleged facts. Furthermore Mr. Palmeroni uncovered numerous instances of
sexual harassment perpetrated by Mr. Lee and testified to under oath by others deposed in this
case. During Mr. Lee’s deposition it was apparent that he was quite inflamed by this, and that he
will choose to disparage Mr. Palmeroni with prejudicial hearsay and nonsense. Lastly it should
be noted that Mr. Lee only worked at NVE for a short time before Mr. Palmeroni was terminated
and any testimony he would give would be irrelevant and indeed hearsay especially a testimony
about procedures after Mr. Palmeroni was terminated.

4.Arthur Prindle - Mr. Prindle, one of Mr. Occifinto’s roommates in jail, has already
shown his testimony in depositions to be irrelevant in this case and hearsay. Furthermore any of
his testimony after Mr. Palmeroni left is irrelevant. Mr. Prindle was released from a long
sentence in federal prison directly before he started working at NVE, therefore if his is testimony
is allowed, his prison record and willingness to do anything for his prison roommate should be
exposed to the jury.
 

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5. Dirk Nieuwenhuis - Mr Niewenhuis testimony is irrelevant and hearsay. Furthermore
NVE has refused to produce a settlement documents with Mr. Nieuwenhuis, not allowing
defendant Palmeroni or the jury to understand Mr. Nieuwenhuis true reasons for testifying in Mr.
Occifinto's favor.

6. Earling Jensen - Mr. Jensen started his employment long after Mr. Palmeroni was
terminated, indeed he only knows Mr. palmeroni through this case. Judge Salas earlier in this
case in a ruling on spoliation indicated as much, saying in effect that Mr. Jensen’s testimony was
not probative and irrelevant because he was not present during Mr. Palmeroni's employment and
Mr. Jensen only knows what he was told by Mr. Occifinto the owner of NVE and Mr. Jensen's
boss. As far as Mr. Jensen testifying to the destruction of documents (already the subject of a
spoliation motion in the defendant's favor) that law has already been decided at nausea in this
case, even including NVE filing an interlocutory appeal.

7. Philip Yang - Mr. Yang did not appear at the spoliation hearing earlier in this case.
NVE was taken to task by judge Salas that they did not produce Mr. Yang. Therefore Mr. Yang
should not be allowed to testify in court in this case. Furthermore NVE seeks to use Mr. Yang to
explain why yet more evidence was destroyed in this case, this time computer evidence. As
mentioned above, this law has already been decided in this case, an adverse inference against
NVE must be given. Therefore Mr. Yang's testimony is unneeded and yet another waste of the
courts time.

Defendant Mr. Palmeroni reserves the right to answer all the objections to witnesses and
documents brought by plaintiff in this document at or before trial and motions in limine. It is
defendant Palmeroni’s understanding that this document is not the appropriate venue for that.

4, DEFENDANT’S WITNESSES (See instructions above).

A. On liability, Defendants intend to call the following witnesses who will
testify in accordance with the following summaries:

Palmeroni’s Witnesses

l. Vincent J. Rosarbo, 23 Thistle Meadow Lane, Branford,
Connecticut 06405 - Rosarbo will testify to his activities in support

of the alleged and denied conspiracies. He will also testify to the
effect that sales of Smart World US had on NVE

2. Jesus J. Palmeroni, 3308 Route 940, Mount Pocono, Pennsylvania
18344 - Palmeroni will testify to his activities in support of the
alleged and denied conspiracies. He will also testify to the effect
that sales to the brokers who paid money to NRCG and sales of
Smart World US had on NVE
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Patricia Cosentino, 27 Lauren Lane, Sussex, New Jersey 07461 -
Ms. Cosentino will testify the pricing structure of NVE goods
varied from customer to customer, based on quantity and method
timing of payment, and at the discretion of Robert Occhifinto

Tammy Thom Meza, 100 Holland Road, Wantage Township, New
Jersey 07461- Ms. Meza will testify the pricing structure of NVE
goods varied from customer to customer, based on quantity and
method timing of payment, and at the discretion of Robert
Occhifinto

Ronald Sumicek, c/o International Sales Group, Houston, Texas -
will testify to his and his company’s relationships with NVE, Inc.,
National Retail Consulting Group, Joe Palmeroni, as well as the
pricing structure for NVE goods.

Ravi Bhatia, deceased. Defendant intends to use his deposition
testimony on the issue of liability regarding the manner in which
customers were assigned to brokers.

Jennifer Duane Hunsicker — document retention, pricing policies

Ron Bossi ~ Mr. Bossi was vice president Palmeroni was hired and
had knowledge of many relevant things in this case

Kris Zabriskie — document retention, pricing policies
Donald Yoder — document retention, pricing policies

Barry Cohen

Angelina Rosarbo

Robert Basil

Defendant Palmeroni also adds to his witness list any and all

witnesses the plaintiff or defendant Rosarbo currently has on their
witness list or adds in the future.

B. NVE’s Objections to Palmeroni’s Witnesses

l.

Patricia Cosentino and Tammy Thom Meza

Objections:
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Plaintiff objects to Palmeroni calling Patricia Cosentino and Tammy
Thom Meza as witnesses for the reasons set forth in its Motions in Limine.
Their proposed testimony that “the pricing structure of NVE goods varied
from customer to customer” is not relevant to any of the claims or
defenses in this matter. And, even if it were relevant, their testimony
would be cumulative and unnecessary because Palmeroni and Rosarbo can
testify to the same alleged facts. The only reason to call these witnesses is
to trot before the jury women whom Mr. Palmeroni hopes will offer
testimony that will have been stricken before the witnesses are called to
testify.

2. Jennifer Duane Hunsicker, Kris Zabriskie, and Donald Yoder.
Objections:

Plaintiff objects to the testimony of Jennifer Duane Hunsicker, Kris
Zabriskie, and Donald Yoder. because the descriptions of their proposed
testimony “document retention, pricing policies” is vague and ambiguous
and does not appear to be relevant to any of the claims or defenses
remaining in this matter.

3. Ronald Bossi

Objections:

Plaintiff objects to Mr. Palmeroni’s intention to call Mr. Bossi as a witness
because the description of his proposed testimony is vague, ambiguous,
and non-specific.

4, Barry Cohen

Objections:

Plaintiff objects to Mr. Palmeroni’s intention to call Barry Cohen as a
witness because Palmeroni failed to disclose that he would be a witness
during discovery, and provides no explanation of what his proposed
testimony would be.

5. Robert Basil

Objection:

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Plaintiff objects to Mr. Palmeroni’s intent to call Mr. Basil as a fact witness.
Mr. Basil serves as counsel of record for several defendants in this matter.
Although the Court dismissed Plaintiffs claims against Mr. Basil’s clients,
those claims may be reinstated on appeal. Accordingly, it would not be
appropriate for Mr. Basil to serve as a fact witness at trial. Furthermore, Mr.
Palmeroni does not explain why Mr. Basil’s testimony is necessary.

Rosarbo’s Witnesses

1.

Vincent J. Rosarbo. 23 Thistle Meadow Lane, Branford,
Connecticut 06405- Rosarbo will testify to his activities in support
of the alleged and denied conspiracies, He will also testify to the
effect that sales of Smart World US had on NVE

Jesus J. Palmeroni, 3308 Route 940, Mount Pocono, Pennsylvania
18344- Palmeroni will testify to his activities in support of the
alleged and denied conspiracies. He will also testify to the effect
that sales to the broker who paid money to NRCG and sales of
Smart World US had on NVE.

Patricia Cosentino, 27 Lauren Lane, Sussex, New Jersey 07461 -
Ms. Cosentino will testify the pricing structure of NVE goods
varied from customer to customer, based on quantity and method
timing of payment, and at the discretion of Robert Occhifinto. We
also did trade shows together and worked side by side in the office
and she got to know my character personally.

Tammy Thom Meza, 100 Holland Road Wantage Township, New
Jersey 07461- Ms. Meza will testify the pricing structure of NVE
goods varied from customer to customer, based on quantity and
method timing of payment, and at the discretion of Robert
Occhifinto. Also work environment from when she worked under
me and if changed when I was terminated. This all has to do with
my character as a person which | believe will show the jury who I
truly am.

Ron Bossi- Mr, Bossi was vice president Palmeroni was hired and
had knowledge of many relevant things in this case.

Jennifer Duane- Hunsicker- same as Tammy

C. NVE’s Objections to Rosarbo’s Witnesses

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1. Patricia Cosentino and Tammy Thom Meza
Objections:

Same objections as set forth above in Section 4 (b).
Objections:

2, Jennifer Duane Hunsicker

Objections:

Same objections as set forth above in Section 4 (b).
3. Ron Bossi

Objections:

Same objections as set forth above in Section 4 (b).

B. On damages, Defendants intend to call the following witnesses who will
testify in accordance with the following summaries:

Palmeroni’s Witnesses

1. Vincent J. Rosarbo, 23 Thistle Meadow Lane, Branford,
Connecticut 06405, will testify NVE was not harmed, and
probably profited his actions. The basis for this opinion is set forth
in his deposition testimony and Palmeroni’s expert opinion
previously served upon counsel and filed with the court

2. Jesus J, Palmeroni, 3308 Route 940, Mount Pocono, Pennsylvania
18344 - will testify NVE was not harmed, and probably profited
his actions. The basis for this opinion is set forth in his deposition
testimony and his expert opinion previously served upon counsel
and filed with the court

3. Ronald Sumicek, c/o International Sales Group, Houston, Texas -
will testify to his and his company’s relationships with NVE, Inc.,
National Retail Consulting Group, Joe Palmeroni, as well as the
pricing structure for NVE goods.

Rosarbo’s Witnesses

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5.

l. Vincent J. Rosarbo, 23 Thistle Meadow Lane, Branford,
Connecticut 06405, will testify NVE was not harmed, and
probably profited from his actions. The basis for this opinion is set
forth in his deposition testimony and Palmeroni’s expert opinion
previously served upon counsel and filed with the court.

2, Jesus J. Palmeroni, 3308 Route 940, Mount Pocono, Pennsylvania
18344 - will testify NVE was not harmed and probably profited
from his actions. The basis for this opinion is set forth in his
deposition testimony and his expert opinion previously served
upon counsel and filed with the court

3. Ronald Sumicek, c/o International Sales Group Houston, Texas-
will testify to his and his company relationship with NVE, Inc,
National Retailing Consulting Group, Joe Palmeroni, as well as the
pricing structure for NVE goods.

4, Robert Basil, attomey in New Jersey who previously had clients in
the case, who witnessed all depositions and testify to the pressures,
emotions and frame of mind during Mr. Rosarbo’s depositions.
Also Mr. Rosarbo had no attorney present. Mr. Basil is not serving
as 2 fact witness for the trial. He is only corroborating Mr.
Rosarbo’s frame of mind and his actions during his depo.

D. NVE’s Objections to Rosarbo’s Witnesses on Damages

1. Robert Basil

Objections:

Plaintiff objects to Mr. Rosarbo’s intent to call Mr. Basil as a witness on
damages. Mr. Basil serves as counsel of record for several defendants in this
matter. Although the Court dismissed Plaintiff's claims against Mr. Basil’s
clients, those claims may be reinstated on appeal. Accordingly, it would not
be appropriate for Mr. Basil to serve as a fact witness at trial, Furthermore,
Mr. Rosarbo does not explain why Mr. Basil’s testimony is necessary. Mr.
Rosarbo can testify about the alleged circumstances surrounding his
depositions.

EXPERT WITNESSES

A.

Plaintiff's expert witnesses are:

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i. Darryl! S. Neier, M.S. CFE
il. Carlos Bengoa

iii. Dirk Nieuwenhuis

Defendant Palmeroni's objections to plaintiff's expert witnesses
a. Darrell S Neier
b. Dirk Nieuwenhuis
c. Carlos Bengoa
Defendant Palmeroni objects to all three of the witnesses directly above (a,b,c) they all
lack sufficient knowledge, skill, experience, training, or education to qualify as an expert. Their
proposed expert testimony will not help the trier of fact to understand the evidence or determine
a fact in issue. Their proposed expert testimony is not based on sufficient facts or data. In
addition, their proposed expert testimony is not the product of reliable principles or methods.
B. Defendant’s expert witnesses are:
Palmeroni
1. Jesus Palmeroni
NVE’s Objections to Palmeroni’s Expert Witnesses
i. Jesus Palmeroni
Objections:
Palmeroni lacks sufficient knowledge, skill, experience, training, or
education to qualify as an expert. His proposed expert testimony will not
help the trier of fact to understand the evidence or determine a fact in
issue. His proposed expert testimony is not based on sufficient facts or
data. In addition, his proposed expert testimony is not the product of
reliable principles or methods.

Rosarbo

i. Vincent J. Rosarbo

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li. Jesus J. Palmeroni

NVE’s Objections to Rosarbo’s Expert Witnesses
Objections:
i, Vincent Rosarbo

Rosarbo lacks sufficient knowledge, skill, experience, training, or
education to qualify as an expert. Their proposed expert testimony will
not help the trier of fact to understand the evidence or determine a fact in
issue. Their proposed expert testimony is not based on sufficient facts or
data. In addition, their proposed expert testimony is not the product of
reliable principles or methods,

ii. Jesus Palmeroni

Palmeroni lacks sufficient knowledge, skill, experience, training, or
education to qualify as an expert. His proposed expert testimony will not
help the trier of fact to understand the evidence or determine a fact in
issue. His proposed expert testimony is not based on sufficient facts or
data. In addition, his proposed expert testimony is not the product of
reliable principles or methods.

6. PLAINTIFF’S EXHIBITS (Except for exhibits the need for which could not
reasonably have been foreseen or which are used solely for impeachment purposes, only the
exhibits set forth on the exhibit list attached hereto may be introduced at trial. parties hereby
agree that it will not be necessary to bring in the custodian of any exhibit as to which no such
objection is made).

A. Plaintiff intends to introduce into evidence the exhibits listed on the
attached exhibit list (list by number with a description of each):

1. Smart World US Tax Records, Sarinelli-Smart World 0001-0018.
2. Corporate filings for Smart World, Inc., Sarinelli-Smart World 0019-0035.

3. 1999 and 2000 orders, correspondence and payment confirmations between NVE
and its distributor in The Netherlands, Smart World. NVE-004152-B-4174-B.

4, Lakeland Bank records reflecting payments made by Brand New Energy to
NRCG, Lakeland Bank-035, 54 and 57.

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Checks reflecting payments made by VAR to Palmeroni or NRCG, or NRCG to
VAR, or AWD to NRCG, Lakeland Bank, 062, 86, 87, 100, 108, 118, 147, 150,
156, 170, 174, 175, 186, 194, 198, 205, 221, 225, 231, 242, 245 and 260,
Checking account statements for AWD, BoA-AWD-009, 14, 19, 24, 29, 34, 40,
45,51, 52, 57, 63, 68, 73, 78, 83, 88, 93, 98, 103, 108, 113, 118, 123, 128, 131,
137, 142, 148, 153, 158 and 163.

VAR checking account statements, BoA-VAR-0080, 86, 98, 109.

Letter sent to Palmeroni on March 24, 2006, NVE-2935.

Rosarbo Separation Agreement dated August 10, 2004, NVE-4299-B — 4302-B.
Palmeroni Separation Agreement dated August 10, 2004, NVE-2929 — 2932.
NVE’s 2002 Employee Handbook, NVE 2864-2897,

Handbook acknowledgement signed by Palmeroni, NVE-002858-A.

Checks from International Wholesale Service, Inc. to AWD, BoA-AWD-0172,
175, 181, 182, 211, 215, 221, 223, 224, 228, 238, 242, 252, 254, 258, 264 and
272.

Checks from Curtis Beverage, Alfredo Felice and Charmaine Felice to AWD,
BoA-AWD-0186, 192, 195, 232-246,

Checks from Curtis Beverage to VAR, BoA-VAR-0123.
Check from Portzs to AWD in amount of $50,000, BoA-AWD-0238.

Documents produced by Carlos Bengoa, bearing Bates Nos. NVE-CB-0001 to
NVE-CB-0031.

Fleet Bank and Bank of America bank account records for Smart World Inc. from
12/21/2002 through 5/31/2006, Sarinelli-Smart World 0177, 272, 273, 274, 275,
277, 279, 286, 287, 284, 295, 296, 297, 298, 299, 300, 302, 303, 305.

Bank of America checking statements for Smart World, BoA-Smartworld

000180, 185, 190, 195, 200, 205, 210, 214, 217, 222, 227, 232, 237, 242, 247,
252, 257, 262 and 267.

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Handwritten Smart World US payment ledgers received from Sarinelli and
Associates, Sarinelli-Smartworld — 0036, 37, 38, 39, 40, 119, 256, 257, 258, 259,
260, 261, 381, 382, 383, 384,

Checks from Dirk Nieuwenhuis to NRCG, Lakeland Bank, 109, 151, 163, 189,
213, 241, 244, 255, 278, 289, 296, 302, 359 and 360.

Checks from Brand New Energy to NRCG, Lakeland Bank -035, 54 and 57,

Internal NVE documents reflecting Smart World purchases of NVE products,
NVE-004055-B - 004127-B.

Corporate Charter of NRCG, Carinelli-NRGC-0016.

General Ledger for America Wholesale Distributors

General Ledger for Smart World, Inc.

Palmeroni’s state and federal tax returns: 2000 to 2008.

Smart World, Inc.’s tax returns 2001 through 2007.

American Warehouse Distributors, Inc. tax returns 2001 through 2007
VAR’s tax returns, 2002 through 2009.

AWD Corporate Charter, Sarinelli-AWD I 1.

AWD Articles of Incorporation, Sarinelli-AWD 15.

Income/withholdings summaries for Palmeroni, 2000 through 2005, NVE
002843-A — 2848.

Palmeroni’s resume, NVE 002862-A.

Transcript of phone conversation between Palmeroni and Rosarbo dated
November 10, 2010,

NVE’s International Price Lists
Domestic distributor purchases for Stacker

Domestic distributor purchases for ephedra free products

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Daryl Neier’s curriculum vitae

Wires to T&J Limited

Transcripts from deposition of Palmeroni

Transcripts from deposition of Rosarbo

Records of payments from PMI to Global NVE-PMI 000001 -000080

Smart World Netherlands orders for NVE products, NVE-004055-B —-NVE
004127-B

Summary of Payments from Sunbelt Marketing to NRGC
Summary of Payments from PMI to NRGC

Summary of Payments from Profit Motivators to NRGC
Summary of Payments from Nieuwenhuis to NRGC
Summary of Payments from Brand New Energy to NRGC
Summary of Payments from PMI to Global

Summary of Payments from CB Distributors to NRGC
Summary of Payments from CB Distributors to AWD
Summary of Payments from Brand New Energy to AWD
Summary of Payments from Householder to AWD
Summary of Payments from Sessions to AWD

Summary of Payments from ISG to AWD

Summary of Payments from Portzs to AWD

Summary of Payments from International Wholesale Service to AWD
Summary of Payments from Alfredo Felice to AWD

Summary of Payment from Curtis Beverage to AWD

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Summary of Payments from CB Distributors to VAR

Summary of Payments from Brand New Energy to VAR
Summary of Payments from Curtis Beverage to VAR

Summary of Payments from CB Distributors to Smart World US

Palmeroni’s personnel file NVE-002858-A — NVE-002863-A

DEFENDANT’S EXHIBITS (See instructions above).

A. Palmeroni - intends to introduce into evidence the exhibits listed on the

attached exhibit list (list by number with a description of each):

l.

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10.

Insurance documents provided by NVE

Deposition of Erling Jensen

Deposition of Vincent Rosarbo

Deposition of Ronald Sumicek

Deposition of Tammy Thom Meza

Deposition of Patricia Cosentino

Deposition of Robert Occhifinto and

Deposition of Darren Householder

Testimony given to the United States Congress by Robert Occhifinto as to
ephedra and his role at NVE as well as company history. (Given during Mr.
Palmeroni's employment)

New Jersey ledger story containing information on Mr. Occhifinto’s previously

undisclosed first arrest for selling look-alike drugs. (This article directly

impeaches Mr. Occhifinto’s testimony later to Congress mentioned in number 9.
above)

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Complaints and charges brought by FDA against NVE before, during and after
Mr. Palmeroni's employment there which directly impeach Mr. Occhifinto's
testimony concerning mislabeled product etc.

Letter from Mr. Rosarbo to the court concerning his deposition testimony and his
accusations of witness tampering, suborning perjury and witness intimidation as
well as any future testimony allowed by this court concerning those offenses
aforementioned, or changes in Mr. Rosarbo's testimony.

Letter from Barry Cohen outlining his work with GNC corporate impeaching Mr.
Occhifinto's version of events.

Memo from Patty Cosentino talking about irregular pricing throughout the NVE
system allowed by Mr. Occhifinto.

Subpoenaed testimony from federal district court in Michigan impeaching
testimony given in this case by Mr. Occhifinto and Erling Jensen as weil as others
employed or working with NVE.

All articles and information previously submitted to the court in this case
concerning Jared Wheat and the illegal actions committed by him and Mr.
Occhifinto during Mr. Palmeroni’s employment, which both Mr, Palmeroni and
Mr. Rosarbo complained about

emails between Richard Horwitz and Gerald Horwitz and their employees at their
company profit motivators et al. sent to Mr. Palmeroni during and after his
employment ended with NVE

Marketing materials used by NVE during Mr. Palmeroni’s employment.
Forbes magazine article containing interviews with Mr. Occhifinto and senior

vice president Walter Orcutt as to their position on ephedra sales, marketing, and
production.

Plaintiff’s Objections to Palmeroni’s Exhibits

l.

Insurance documents provided by NVE

Objections

Plaintiff objects to these proposed exhibits on the grounds that Palmeroni does not
identify these documents with enough specificity. In addition, he does not explain
how they are relevant to the claims or defenses in this matter.
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3. Deposition of Tammy Thom Meza
Objections

Plaintiff objects to this proposed exhibit on the grounds that it is not relevant and that
its probative value, if any, is outweighed by its prejudicial effect.

6. Deposition of Patricia Cosentino
Objections

Plaintiff objects to this proposed exhibits on the grounds that it is not relevant and its
probative value, if any, is outweighed by its prejudicial effect.

9. Testimony given to the United States Congress by Robert Occhifinto as to
ephedra and his role at NVE as well as company history. (Given during Mr.
Palmeroni's employment)

Objections

Plaintiff objects to this proposed exhibit on the grounds that Palmeroni does not
identify the testimony to which he is referring to with enough specificity. In addition,
he does not explain how the testimony is relevant to the claims or defenses in this
matter.

10. New Jersey ledger story containing information on Mr. Occhifinto’s previously
undisclosed first arrest for selling look-alike drugs. (This article directly impeaches
Mr. Occhifinto’s testimony later to Congress mentioned in number 9. above)

Objections

Plaintiff objects to this proposed exhibit on the grounds that is barred by the rule
against hearsay, not relevant to the claims and defenses in this matter, and barred by
Federal Rule of Evidence 404(a) to the extent that it is to be used as character
evidence.

11, Complaints and charges brought by FDA against NVE before, during and after
Mr. Palmeroni's employment there which directly impeach Mr. Occhifinto's

testimony concerning mislabeled product etc.

Objections

Plaintiff objects to these proposed exhibits on the grounds that they are not identified
with enough specificity, not relevant to any of the claims or defenses in this matter,

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not evidential of any facts and barred by Federal Rule of Evidence 404(a) to the
extent that they are to be used as character evidence.

12. Letter from Mr. Rosarbo to the court concerning his deposition testimony and his
accusations of witness tampering, suborning perjury and witness intimidation as well
as any future testimony allowed by this court concerning those offenses
aforementioned, or changes in Mr. Rosarbo's testimony.

Objections

Plaintiff objects to this proposed exhibit on the grounds that it is hearsay and that it is
not relevant to the claims and defenses in this matter.

13. Letter from Barry Cohen outlining his work with GNC corporate impeaching Mr.
Occhifinto's version of events.

Objections
Plaintiff objects to this proposed exhibit on the grounds that it is hearsay, that it is not
relevant to the claims and defenses in this matter, and that it was not provided during

discovery.

14. Memo from Patty Cosentino talking about irregular pricing throughout the NVE
system allowed by Mr. Occhifinto.

Objections

Plaintiff objects to this proposed exhibit on the grounds that it is hearsay, that it is not
relevant to the claims and defenses in this matter, that it was not provided during
discovery and that its probative value, if any, is outweighed by its prejudicial effect.
15. Subpoenaed testimony from federal district court in Michigan impeaching
testimony given in this case by Mr. Occhifinto and Erling Jensen as well as others
employed or working with NVE.

Objections

Plaintiff objects to these exhibits because Mr. Palmeroni does not identify them with

enough specificity and they are not relevant to any of the claims or defenses in this
matter.

16. All articles and information previously submitted to the court in this case
concerning Jared Wheat and the illegal actions committed by him and Mr. Occhifinto

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during Mr. Palmeroni's employment, which both Mr. Palmeroni and Mr. Rosarbo
complained about

Objections

Plaintiff objects to these proposed exhibits on the grounds that they are hearsay, that
they are not relevant to the claims and defenses in this matter, that they were not
provided during discovery, that their probative value, if any, is outweighed by their
prejudicial effect, and that they are barred by Federal Rule of Evidence 404 (a) to the
extent that they are to be used as character evidence.

17. emails between Richard Horwitz and Gerald Horwitz and their employees at their
company profit motivators et al. sent to Mr. Palmeroni during and after his
employment ended with NVE

Objections

Plaintiff objects on the grounds that these emails were not produced during discovery
and that they are not relevant to the claims and defenses in this matter.

18. Marketing materials used by NVE during Mr. Palmeroni's employment.

Objections

Plaintiff objects to these exhibits because Mr. Palmeroni does not identify them with

enough specificity and they are not relevant to any of the claims or defenses in this
matter.

19. Forbes magazine article containing interviews with Mr. Occhifinto and senior

vice president Walter Orcutt as to their position on ephedra sales, marketing, and
production.

Objections

Plaintiff objects to these proposed exhibits on the grounds that they are hearsay, that
they are not relevant to the claims and defenses in this matter, that they were not
provided during discovery, that their probative value, if any, is outweighed by their
prejudicial effect, and that they are barred by Federal Rule of Evidence 404 (a) to the
extent that they are to be used as character evidence.

C. Rosarbo - intends to introduce into evidence the exhibits listed on the
attached exhibit list (list by number with a description of each):

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1, Insurance documents provided by NVE
2. Deposition of Erling Jensen
3. Deposition of Vincent Rosarbo
4, Deposition of Ronald Sumicek
5. Deposition of Tammy Thom Meza
6. Deposition of Patricia Cosentino
7. Deposition of Robert Occhifinto
8. Deposition of Darren Householder
9. Rosarbo submitted statement concerning meetings with Bob
Occhifinto, being coerced, pressured and threatened all prior to my
deposition testimony. Also stated deposition was done without
counsel present.
Plaintiff's Objections to Rosarbo’s Exhibits
1. Insurance documents provided by NVE
Objections
Plaintiff objects to these proposed exhibits on the grounds that Mr. Rosarbo does
not identify these documents with enough specificity. In addition, he does not
explain how they are relevant to the claims or defenses in this matter.
2. Deposition of Tammy Thom Meza

Objections

Plaintiff objects to this proposed exhibits on the grounds that it is not relevant and
that its probative value, if any, is outweighed by its prejudicial effect.

3. Deposition of Patricia Cosentino

Objections

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Plaintiff objects to this proposed exhibits on the grounds that it is not relevant and
that its probative value, if any, is outweighed by its prejudicial effect.

9, Rosarbo submitted statement concerning meetings with Bob Occhifinto,
being coerced, pressured and threatened all prior to my deposition
testimony. Also stated deposition was done without counsel present.

Objections

Plaintiff objects to these proposed exhibits on the grounds that they are
hearsay, that they were not provided during discovery, that their probative
value, if any, is outweighed by its prejudicial effect, and that they are
barred by Federal Rule of Evidence 404 (a) to the extent that they are to be
used as character evidence.

Copies of exhibits are to be made for opposing counsel, and a bench book of exhibits is to
be delivered to the Judge at the start of trial. If counsel desires to display exhibits to the jury,
sufficient copies should be available to provide each juror with a copy; alternatively, enlarged
photographic or projected copies may be used.

8. JURY TRIALS-Notlaterthan | © 1)

A. Each side shall submit to the Judge and to opposing counsel a trial brief or
memorandum in accordance with Local Civil Rule 7.2B, with citations to
authorities and arguments in support of its position on all disputed issues
of law. In the event a brief shall not be filed, the delinquent party’s
complaint or defense may be stricken.

B. Counsel for each party shall submit to the Judge, with a copy to opposing
counsel, written requests for instructions to the jury. Supplemental
requests for instructions may be submitted at any time prior to argument to
the jury. All requests for instructions shall be plainly marked with the
name and number of the case, shall contain citations of supporting
authorities, if any, and shall designate the party submitting same. In the
case of multiple requests by a party, these shall be numbered in sequence
and each request shall be on a separate sheet of paper.

Cc. Joint proposed verdict form/special interrogatories are to be submitted to
the trial judge.

D. Proposed voir dire questions are to be submitted to the trial judge.

9. TRIAL COUNSEL (List the names of trial counsel for all parties).

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Trial Counsel for Plaintiff, N.V.E., Inc.,
Samuel! J. Samaro, Esq.
PASHMAN STEIN WALDER HAYDEN. P.C.
21 Main Street — Suite 200
Hackensack, NJ 07601
Defendants Jesus J. Palmeroni and Vincent Rosarbo
Both appearing pro se
10, ESTIMATED LENGTH OF TRIAL
8 DAYS FOR LIABILITY and 3 DAYS FOR DAMAGES.
AMENDMENTS TO THIS PRETRIAL ORDER WILL NOT BE PERMITTED

UNLESS THE COURT DETERMINES THAT MANIFEST INJUSTICE WOULD RESULT IF
THE AMENDMENT IS DISALLOWED.

/s/ James W. Boyan III

 

JAMES W. BOYAN III JESUS PALMERONI
PASHMAN STEIN WALDER HAYDEN Defendant pro se

A Professional Corporation 3308 Route 940, Suite 104
Attorneys for Plaintiff N.V.E., Inc. Mt. Pocono, PA 18344

21 Main Street — Suite 200
Hackensack, NJ 07601
jboyanidipashmanstein.com

T. (201) 488-8200 VINCENT ROSARBO
F. (201) 488-5556 Defendant pro se

23 Thistle Meadow Lane
Branford, Connecticut 06405

 

 

HON. LEDA DUNN WETTRE
UNITED STATES MAGISTRATE JUDGE

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Trial Counsel for Plaintiff, N.V.E., Inc.,
Samuel J. Samaro, Esq.
PASHMAN STEIN WALDER HAYDEN. P.C.
21 Main Street — Suite 200
Hackensack, NJ 07601

Defendants Jesus J. Palmeroni and Vincent Rosarbo
Both appearing pro se

10. ESTIMATED LENGTH OF TRIAL
8 DAYS FOR LIABILITY and 3 DAYS FOR DAMAGES.

AMENDMENTS TO THIS PRETRIAL ORDER WILL NOT BE PERMITTED
UNLESS THE COURT DETERMINES THAT MANIFEST INJUSTICE WOULD RESULT IF

THE AMENDMENT IS DISALLOWED. /

 

 

   
 

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SAMUEL J.SAMARO, ESQ. ( _.. JESUS PALMERONI
PASHMAN STEIN WALDER HA\ efendant pro se

A Professional Corporation i

Attorneys for Plaintiff N.V.E., Inc. \
21 Main Street — Suite 200
Hackensack, NJ 07601

ssamaro@)pashmanstein.com NY

T. (201) 488-8200 VINCENT ROSARBO
F. (201) 488-5556 Defendant pro se

23 Thistle Meadow Lane
Branford, Connecticut 06405

/ 3308 Route 940, Suite 104
Mt. Pocono, PA 18344

 

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(AON. LEDA DUNN WETTRE
UNITED STATES MAGISTRATE JUDGE

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Trial Counsel for Plaintiff, N.V-E., Inc.,

Samuel J. Samaro, Esq.

PASHMAN STEIN WALDER HAYDEN. P.C.
21 Main Street — Suite 200

Hackensack, NJ 07601

Defendants Jesus J. Palmeroni and Vincent Rosarbo
Both appearing pro se
10. ESTIMATED LENGTH OF TRIAL
8 DAYS FOR LIABILITY and 3 DAYS FOR DAMAGES.
AMENDMENTS TO THIS PRETRIAL ORDER WILL NOT BE PERMITTED

UNLESS THE COURT DETERMINES THAT MANIFEST INJUSTICE WOULD RESULT IF
THE AMENDMENT IS DISALLOWED.

 

 

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HON. LEDA DUNN WETTRE
UNITED STATES MAGISTRATE JUDGE

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